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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

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                                                                         )
 UNITED STATES OF AMERICA,                                               )
 Plaintiff,                                                              )
                                                                         )
                   v.                                                    ) CRIMINAL NO. 22-342 (RAM)
                                                                         )
 [1] WANDA VAZQUEZ GARCED,                                               )
 [2] JULIO M. HERRERA VELUTINI,                                          )
 [3] MARK T. ROSSINI,                                                    )
 Defendants.                                                             )
                                                                         )
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                             MOTION FOR MODIFICATIONS OF
                               CONDITIONS OF RELEASE
TO THE HONORABLE COURT:

       Mark T. Rossini, through his undersigned attorneys, moves this Court for modifications

of his conditions of release. (Docket Nos. 20 and 23)

       On August 3, 2022, an indictment was issued in this case charging Mr. Rossini with

certain offenses.

       On August 9, 2022, Mr. Rossini appeared in this District to face the charges against him.

He was arraigned before United States Magistrate Judge Velez-Rive, entered a plea of not guilty

to all charges, and was released by the Court in accordance with an Order Setting Conditions of

Release (the “Conditions”). (Docket Nos. 20 and 23) Following his arraignment, Mr. Rossini

returned to his residence of record located within the Southern District of New York (“SDNY”).

Mr. Rossini has reported to, and is currently under the active supervision of, United States

Pretrial Services Officer Andrew Abbott. Mr. Abbott’s office is located in the District Court,

Southern District of New York, White Plains, New York.

       First, Mr. Rossini’s Conditions of Release state that “Bond is set at $50,000 secured by
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cash or property” and “the defendant is granted ten (10) days to post the secured amount.”

(Docket Nos. 20 and 23) There is no requirement in the Order Setting Conditions of Release

that Mr. Rossini personally return to San Juan and appear at the Clerk’s Office in the District of

Puerto Rico to hand deliver the $50,000 security amount. Nonetheless, in an abundance of

caution and in order to avoid any doubt about the required procedure, we respectfully request

that Mr. Rossini be permitted to deliver the $50,000 security amount (in the form of cashier’s or

bank check) to local counsel, Lydia Lizarribar, so that she may personally deposit the security

amount with the Clerk’s Office in San Juan on behalf of Mr. Rossini. We expect that Ms.

Lizarribar will be entering a Notice of Appearance on behalf of Mr. Rossini this week.

       Second, the Order Setting Conditions of Release also states that “the defendant must

sign an Appearance Bond, if ordered.” (Docket No. 23) To the extent the Clerk’s Office in the

District of Puerto Rico takes the position that Mr. Rossini must sign additional paperwork

(including an Appearance Bond that is different or in addition to the Appearance Bond we

believe he may already have signed) at the time that the $50,000 security amount is posted, we

respectfully request that Mr. Rossini be permitted to sign and execute any such paperwork,

including an Appearance Bond, in New York, in the presence of Mr. Abbott (his Pre-Trial

Services officer), rather than being required to return to the District of Puerto Rico so that he

can execute such paperwork in the Clerk’s Office in San Juan Indeed, if the Court requires, we

request that Mr. Rossini and Mr. Abbott be permitted to arrange a video conference with

representatives of the District of Puerto Rico Probation Department or Clerk’s Office (as

appropriate), so that multiple witnesses can observe Mr. Rossini executing the paperwork.

       Third, the Order Setting Conditions of Release contain a restriction on travel that

states, in relevant part, “Shall reside at address of record; shall not leave jurisdiction of this
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district without first obtaining written permission from the Court.” (Docket No. 23) In order

to avoid doubt about Mr. Rossini’s travel restrictions, we respectfully request that the Order

Setting Conditions of Release be modified to permit Mr. Rossini travel within the New York

City Tri-State Area (which includes the Southern, Eastern, Northern and Western Districts of

New York, the District of New Jersey and the District of Connecticut), without first obtaining

written permission of the Court. Such a restriction is customary for defendants released on

bond in the federal courts in New York, New Jersey and Connecticut, given the close

proximity of the various districts to one another.

       Fourth, while we are working diligently to retain local counsel and to post the $50,000

security bond, Mr. Rossini respectfully requests an additional five (5) days to do satisfy the

obligation to post the $50,000 cash security.

       We have discussed these matters with the government, and the government has no

objection to any of this requested relief.

       WHEREFORE, Mr. Rossini respectfully requests that the Court: (1) permit Mr.

Rossini to remain in New York and to arrange for his local counsel to deliver the $50,000 cash

security amount (in the form of a check) to the Clerk’s Office in the District of Puerto Rico; (2)

permit Mr. Rossini to remain in New York while he signs and executes any paperwork

associated with his release (including any Appearance Bond that the Clerk’s Office deems

necessary or appropriate) and direct that the Clerk’s Office in San Juan accept such paperwork,

so long as (a) Mr. Rossini signs the paperwork in the presence of a Pre-Trial Services Officer or

Probation Officer in the Southern District of New York and/or in the remote presence, by Zoom

or Webex call or otherwise, of a representative of the Pre-Trial Services or Probation

Department for the District of Puerto Rico; (3) modify his Conditions of Release to permit Mr.
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Rossini to travel within the States of New York, New Jersey and Connecticut without obtaining

prior written permission from the Court; and (4) modify his Conditions of Release to grant Mr.

Rossini five (5) additional days to secure the $50,000 bond with cash or property.
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       CERTIFICATE OF SERVICE: I hereby certify that on this date, I emailed the
foregoing to counsel for the government and counsel to Wanda Vasquez Garced at the email
addresses of record.


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                                                  /S/ Sean T. Haran
                                                  Sean T. Haran
                                                  Derek Cohen

                                                  Counsel for Mark T. Rossini
